Case 1:09-cv-00386-JLK-KMT Document 125-1 Filed 08/12/11 USDC Colorado Page 1 of
                                      39

  EXECUTION COPY


                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO
                                    Judge John L. Kane

  Civil Action No. 09-cv-386-JLK-KMT (consolidated with 09-cv-525-JLK-KMT)

  IN RE: OPPENHEIMER CHAMPION FUND SECURITIES FRAUD CLASS ACTIONS

  This document relates to BOTH actions.


   AMENDED AND RESTATED STIPULATION AND AGREEMENT OF SETTLEMENT


         This Amended and Restated Stipulation and Agreement of Settlement (the “Stipulation”),

  dated as of August 11, 2011, is made and entered into by and among Errol Glynn O’Steen and

  Thomas Goodman (“Lead Plaintiffs”), on behalf of themselves and the Class, and

  OppenheimerFunds, Inc. (“OFI”), and OppenheimerFunds Distributor, Inc. (“OFDI”)

  (collectively, “Oppenheimer”), John V. Murphy and Brian W. Wixted (together with

  Oppenheimer, the “Oppenheimer Defendants”), William L. Armstrong, Robert G. Avis, George

  C. Bowen, Edward L. Cameron, Jon S. Fossel, Sam Freedman, Beverly L. Hamilton, Robert J.

  Malone and F. William Marshall, Jr. (collectively, the “Trustee Defendants”) (the Oppenheimer

  Defendants and the Trustee Defendants are collectively referred to as “Defendants”) by and

  through their undersigned counsel.

         WHEREAS:

         a.      This Stipulation amends and supersedes the prior Stipulation and Agreement of

  Settlement executed and filed in this action on May 19, 2011.

         b.      Beginning on February 24, 2009, a series of proposed class actions were filed in

  the United States District Court for the District of Colorado (the “District Court” or “Court”)

  alleging violations of the Securities Act of 1933 (the “1933 Act”) in connection with alleged
Case 1:09-cv-00386-JLK-KMT Document 125-1 Filed 08/12/11 USDC Colorado Page 2 of
                                      39




  misstatements in the registration statements and prospectuses of Oppenheimer Champion Income

  Fund (the “Champion Fund”);

         c.      On September 25, 2009, Judge John L. Kane appointed Errol Glynn O’Steen and

  Thomas Goodman to serve as Lead Plaintiffs, appointed Labaton Sucharow LLP as Lead

  Counsel and appointed The Shuman Law Firm as Liaison Counsel;

         d.      On October 13, 2009, Lead Plaintiffs filed a Consolidated Class Action

  Complaint (the “Complaint”) asserting claims under Sections 11, 12(a)(2), and 15 of the 1933

  Act (15 U.S.C. §§ 77k, 77l, and 77o) on behalf of all persons who bought shares of the

  Champion Fund during the period from January 1, 2006 through December 31, 2008 (the

  “Action”);

         e.      On December 3, 2009, the Oppenheimer Defendants and the Trustee Defendants

  each filed a motion to dismiss the Complaint; on January 19, 2010 Lead Plaintiffs filed an

  opposition to the motions to dismiss; and, on February 17, 2010 the Oppenheimer Defendants

  and the Trustee Defendants each filed their replies to the opposition;

         f.      On July 19 and July 20, 2010, Lead Plaintiffs and Defendants met with Judge

  Layn R. Phillips (ret.) (“Judge Phillips”) for a lengthy confidential mediation process in the

  Action and in a related action, In re Core Bond Fund, Civil Action No. 09-cv-1186-JLK-KMT

  (the “Core Bond Fund Action”), also pending before the Honorable John L. Kane in the United

  States District Court for the District of Colorado. The initial mediation process was not

  successful. Following the initial mediation process, Defendants produced thousands of

  documents subject to the confidentiality provisions of the mediation process, which Lead

  Counsel promptly reviewed and analyzed;




                                                   2
Case 1:09-cv-00386-JLK-KMT Document 125-1 Filed 08/12/11 USDC Colorado Page 3 of
                                      39




         g.       On November 9, 2010, following another lengthy confidential mediation process

  before Judge Phillips, Lead Plaintiffs and Defendants entered into a Memorandum of

  Understanding (the “MOU”) setting forth the material terms of proposed settlements in the

  Action and in the Core Bond Fund Action;

         h.       After entering into the MOU, Defendants produced thousands of additional

  documents subject to the confidentiality provisions of the mediation process, which Lead

  Counsel promptly reviewed and analyzed;

         i.       Lead Plaintiffs, Lead Counsel and Liaison Counsel believe that the Settlement

  described in this Stipulation confers substantial benefits on the Class and is in the best interests

  of the Class.

         NOW, THEREFORE, without any admission or concession whatsoever by Lead

  Plaintiffs of any lack of merit to the claims alleged in the Action, and without any admission or

  concession whatsoever by Defendants of any liability or wrongdoing or lack of merit in their

  defenses, and in consideration of the covenants, agreements, and releases set forth herein and for

  other good and valuable consideration, it is hereby agreed by and among the Lead Plaintiffs

  (individually and on behalf of the Class) and Defendants that, subject to the approval of the

  Court pursuant to Rule 23 of the Federal Rules of Civil Procedure, the Action be forever

  resolved, settled, compromised, and dismissed with prejudice on the following terms and

  conditions:


                                      CERTAIN DEFINITIONS

         1.       Capitalized terms not defined elsewhere in this Stipulation shall have the

  following meanings:

                  (a)    “Actions” means the Action and the Core Bond Fund Action.


                                                    3
Case 1:09-cv-00386-JLK-KMT Document 125-1 Filed 08/12/11 USDC Colorado Page 4 of
                                      39




                 (b)     “Authorized Claimant” means a Class Member (i) with a valid claim,

  whose name, address, and account information is provided by the Oppenheimer Defendants, a

  broker-dealer, or other intermediary to the Claims Administrator, or (ii) who submits a timely

  and valid Proof of Claim, which includes proof of the Class Member’s loss as specified in the

  Proof of Claim, to the Claims Administrator.

                 (c)     “Claims Administrator” means the firm of Epiq Class Action & Claims

  Solutions, Inc., designated by Lead Counsel subject to the approval of the District Court, that

  shall administer the Settlement.

                 (d)     “Class” or “Class Members” means all persons and entities who purchased

  or otherwise acquired shares of the Champion Fund during the Class Period and who were

  damaged thereby. Excluded from the Class are Defendants; Oppenheimer’s Officers and

  Directors; members of Defendants’ immediate families; Defendants’ legal representatives, heirs,

  successors, or assigns; any entity in which Defendants have or had a controlling interest; and any

  mutual fund or account managed by OFI or its affiliates (including without limitation “funds of

  funds”) that owned shares of the Champion Fund. Also excluded from the Class are any

  proposed Class Members who properly exclude themselves by filing a valid and timely request

  for exclusion in accordance with the requirements set forth in the Notice.

                 (e)     “Class Period” means the period from January 1, 2006 through December

  31, 2008, inclusive.

                 (f)     “Defendants’ Counsel” means Dechert LLP, K&L Gates LLP, Perkins

  Coie LLP, and Davis, Graham & Stubbs LLP.

                 (g)     “Distribution Order” means an order of the District Court that approves

  the Claims Administrator’s administrative determinations concerning the acceptance and



                                                   4
Case 1:09-cv-00386-JLK-KMT Document 125-1 Filed 08/12/11 USDC Colorado Page 5 of
                                      39




  rejection of claims to the Settlement; that approves the reasonable remaining costs of providing

  Notice and administering the Settlement, including reasonable fees and expenses of the Claims

  Administrator and reasonable attorneys’ fees and expenses not previously applied for; and that

  determines that the Effective Date has occurred and directs payment of the Net Settlement Fund

  to Authorized Claimants.

                 (h)     “Effective Date of Settlement” or “Effective Date” means the date upon

  which the Settlement in the Action shall become effective and final, as set forth in paragraph 23

  below.

                 (i)     “Escrow Account” means the separate interest-bearing escrow account(s)

  at a federally insured banking institution designated by Lead Counsel into which the Settlement

  Amount is to be deposited for the benefit of the Class in this Action. Except as set forth

  elsewhere in this Stipulation, the Escrow Account shall be controlled solely by Lead Counsel.

                 (j)     “Escrow Agent” means Citibank, N.A.

                 (k)     “Fee and Expense Application” means an application to be filed by Lead

  Counsel for attorneys’ fees and reimbursement of expenses as defined in paragraph 17(a).

                 (l)     “Final Judgment” means a judgment entered by the District Court,

  substantially in the form of Exhibit B attached hereto.

                 (m)     “Gross Settlement Fund” means the sum of the Settlement Amount and all

  interest earned on the Settlement Amount.

                 (n)     “Lead Counsel” means Labaton Sucharow LLP and Hagens Berman Sobol

  Shapiro LLP, Lead Counsel for Lead Plaintiffs and the Class.




                                                   5
Case 1:09-cv-00386-JLK-KMT Document 125-1 Filed 08/12/11 USDC Colorado Page 6 of
                                      39




                 (o)       “Net Settlement Fund” means the balance of the Gross Settlement Fund

  available to be distributed to Authorized Claimants after subtracting the dollar amounts paid or

  owing in connection with the Settlement as set forth in this Stipulation.

                 (p)       “Notice” means the “Notice of Pendency and Proposed Settlement of

  Class Action for Identified Purchasers” and the “Notice of Pendency and Proposed Settlement of

  Class Action for Un-Identified Purchasers,” substantially in the forms of Exhibits 1 and 2,

  respectively, to Exhibit A attached hereto, which are to be sent to the Class, subject to the

  approval of the Court.

                 (q)       “Parties” means Lead Plaintiffs, on behalf of themselves and the Class,

  and Defendants in the Action.

                 (r)       “Plan of Allocation” means the “Distribution Plan” of the Net Settlement

  Fund as set forth in the Notice or such other plan of allocation as the District Court approves.

                 (s)       “Preliminary Approval Order” means the proposed order preliminarily

  approving the Settlement and directing notice to the Class of the pendency of the Action and of

  the Settlement, to be entered by the District Court, substantially in the form of Exhibit A attached

  hereto.

                 (t)       “Proof of Claim” means the Proof of Claim form, substantially in the form

  of Exhibit 3 to Exhibit A attached hereto.

                 (u)       “Publication Notice” means the Summary Notice of Pendency and

  Proposed Settlement of Class Action for publication, substantially in the form of Exhibit 5 to

  Exhibit A attached hereto.

                 (v)       “Recognized Claim” means the amount of an Authorized Claimant’s loss

  that is determined by the Claims Administrator to be compensable under the Plan of Allocation.



                                                    6
Case 1:09-cv-00386-JLK-KMT Document 125-1 Filed 08/12/11 USDC Colorado Page 7 of
                                      39




                 (w)     “Record of Fund Transactions” means the letter, substantially in the form

  of Exhibit 4 to Exhibit A attached hereto, to be sent to Class Members for whom Defendants,

  broker-dealers, or other intermediaries have provided name, address and Class Period account

  transaction information.

                 (x)     “Released Claim(s)” means all claims, demands, rights, actions, suits, or

  causes of action of every nature and description, whether known or unknown (including

  Unknown Claims, as defined herein), whether the claims arise under federal, state, statutory,

  regulatory, common, foreign or other law, whether foreseen or unforeseen, and whether asserted

  individually, directly, representatively, derivatively, or in any other capacity, that the Releasing

  Plaintiff Parties: (1) asserted in the Complaint or the Action as against the Released Defendant

  Parties; (2) have asserted, could have asserted, or could assert in the future, in any forum against

  the Released Defendant Parties that are based upon, arise out of, or relate in any way to the facts,

  matters, transactions, allegations, claims, losses, damages, disclosures, filings, or statements set

  forth in the Complaint or at issue in the Action; or (3) have asserted, could have asserted, or

  could assert in the future relating to the prosecution, defense, or settlement of the Action as

  against the Released Defendant Parties. Released Claim(s) does not include: (1) claims to

  enforce the Settlement or (2) the rights of the Champion Income Fund in any derivative claim

  filed or asserted against the Released Defendant Parties prior to the date of the Stipulation and

  Agreement of Settlement dated May 19, 2011.

                 (y)     “Released Defendant Parties” means (1) any and all of the Defendants

  and/or their current or former attorneys, auditors, officers, directors, employees, partners,

  subsidiaries, affiliates, related companies, parents, insurers, heirs, executors, representatives,

  predecessors, successors, assigns, trustees, or other individual or entity in which any Defendant



                                                    7
Case 1:09-cv-00386-JLK-KMT Document 125-1 Filed 08/12/11 USDC Colorado Page 8 of
                                      39




  has a controlling interest; and (2) broker-dealers or financial advisers of any Class Member. For

  the avoidance of doubt, the Champion Income Fund is included in the definition of Released

  Defendant Parties.

                 (z)     “Released Defendants’ Claim(s)” means any and all claims and causes of

  action of every nature and description, including known and unknown claims (including

  Unknown Claims as defined herein), whether arising under federal, state, statutory, regulatory, or

  common, or foreign or other law, that the Defendants asserted or could have asserted against the

  Released Plaintiff Parties, which arise out of or relate in any way to the institution, prosecution,

  or settlement of the Action (other than claims to enforce the Settlement).

                 (aa)    “Released Parties” means the Released Defendant Parties and the

  Released Plaintiff Parties collectively.

                 (bb)    “Released Plaintiff Parties” means any and all of the Lead Plaintiffs, Class

  Members, Lead Counsel, and their respective partners, employees, attorneys, heirs, executors,

  administrators, trustees, successors, predecessors, and assigns.

                 (cc)    “Releasing Plaintiff Parties” means: (i) Lead Plaintiffs; (ii) all Class

  Members; (iii) Lead Plaintiffs’ and each Class Member’s present or past heirs, executors,

  administrators, successors, assigns, and predecessors; and (iv) any person or entity who claims

  by, through, or on behalf of the Lead Plaintiffs or any Class Member.

                 (dd)    “Repayment Obligation” means the obligation, pursuant to paragraphs 3,

  17, and 23(e) below, to return the dollar amount distributed from the Gross Settlement Fund

  before the Effective Date for Lead Counsel’s attorneys’ fees and expense reimbursement, plus

  interest on those amounts equal to what would have been earned had the amounts remained in

  the Gross Settlement Fund.



                                                    8
Case 1:09-cv-00386-JLK-KMT Document 125-1 Filed 08/12/11 USDC Colorado Page 9 of
                                      39




                 (ee)     “Settlement” means the settlement contemplated by this Stipulation.

                 (ff)     “Settlement Amount” means $52,500,000 in United States currency.

                 (gg)     “Unknown Claims” means (i) any and all Released Claims that any of the

  Releasing Plaintiff Parties does not know or suspect to exist in his, her, or its favor at the time of

  the release of the Released Defendant Parties which, if known by him, her or it might have

  affected his, her, or its settlement with and release of the Released Defendant Parties, or might

  have affected his, her, or its decision(s) with respect to the Settlement (including the decision not

  to object or exclude himself, herself, or itself from the Settlement), and (ii) any Released

  Defendants’ Claims that any Defendant does not know to exist in his, her, or its favor at the time

  of the release of the Released Plaintiff Parties, which, if known by him, her or it might have

  affected his, her, or its settlement with and release of the Released Plaintiff Parties, or might

  have affected his, her, or its decision(s) with respect to the Settlement. Moreover, with respect to

  any and all Released Claims and any and all Released Defendants’ Claims, upon the Effective

  Date, the Releasing Plaintiff Parties and Defendants, respectively, shall be deemed to have, and

  by operation of the Final Judgment shall have, fully, finally, and expressly waived any and all

  provisions, rights, and benefits conferred by any law of any state or territory of the United States,

  or principle of common law, that is similar, comparable, or equivalent to California Civil Code §

  1542, which provides:

                 A GENERAL RELEASE DOES NOT EXTEND TO CLAIMS
                 WHICH THE CREDITOR DOES NOT KNOW OR SUSPECT
                 TO EXIST IN HIS OR HER FAVOR AT THE TIME OF
                 EXECUTING THE RELEASE, WHICH IF KNOWN BY HIM
                 OR HER MUST HAVE MATERIALLY AFFECTED HIS OR
                 HER SETTLEMENT WITH THE DEBTOR.

  The Releasing Plaintiff Parties, or any one of them, may hereafter discover facts other than or

  different than those which he, she or it knows or believes to be true, but each of the Releasing


                                                    9
Case 1:09-cv-00386-JLK-KMT Document 125-1 Filed 08/12/11 USDC Colorado Page 10 of
                                       39




   Plaintiff Parties hereby expressly waives and fully, finally, and forever settles and releases, upon

   the Effective Date, any known or unknown, suspected or unsuspected, contingent or non-

   contingent Released Claim. Likewise, the Defendants, or any one of them, may hereafter

   discover facts other than or different than those which he, she or it knows or believes to be true,

   but each of the Defendants hereby expressly waives and fully, finally, and forever settles and

   releases, upon the Effective Date, any known or unknown, suspected or unsuspected, contingent

   or non-contingent Released Defendants’ Claim. The Parties acknowledge that the inclusion of

   “Unknown Claims” in the definition of Released Claims and Released Defendants’ Claims was

   separately bargained for and was a key element of the Settlement.


                             SCOPE AND EFFECT OF SETTLEMENT

          2.      The obligations incurred pursuant to this Stipulation shall be in full and final

   disposition of the Action and any and all Released Claims as against all Released Defendant

   Parties and any and all Released Defendants’ Claims as against all Released Plaintiff Parties.

                  (a)     Upon the Effective Date of the Settlement, and without any further action,

   Lead Plaintiffs shall dismiss the Action with prejudice and on the merits, without an assessment

   of costs against any party.

                  (b)     Upon the Effective Date, and without any further action, the Releasing

   Plaintiff Parties, for good and valuable consideration the adequacy of which is hereby

   acknowledged, shall fully, finally, and forever release, relinquish, and discharge any and all

   Released Claims against each and every one of the Released Defendant Parties, and shall forever

   be barred and enjoined, without the necessity of any of the Released Defendant Parties posting a

   bond, from commencing, instituting, prosecuting, or maintaining any of the Released Claims.

   Upon the Effective Date, and without any further action, Lead Plaintiffs further agree not to


                                                    10
Case 1:09-cv-00386-JLK-KMT Document 125-1 Filed 08/12/11 USDC Colorado Page 11 of
                                       39




   knowingly and voluntarily assist in any way any third party in commencing or prosecuting any

   suit against the Released Defendant Parties relating to any Released Claim, including any

   derivative suit not otherwise released. Except as otherwise set forth herein, this Stipulation shall

   not affect whatever rights the Releasing Plaintiff Parties or any of them may have to participate

   in or benefit from, where appropriate, any relief or other recovery as part of a settlement or

   judgment in any action on behalf of Class Members.

                   (c)    Upon the Effective Date of the Settlement, and without any further action,

   Defendants, on behalf of themselves, and their heirs, executors, trustees, administrators,

   predecessors, successors, and assigns, for good and valuable consideration the receipt and

   adequacy of which is hereby acknowledged, shall fully, finally, and forever release, relinquish,

   and discharge any and all Released Defendants’ Claims against each and every one of the

   Released Plaintiff Parties, and shall forever be barred and enjoined, without the necessity of any

   of the Released Plaintiff Parties posting a bond, from commencing, instituting, prosecuting, or

   maintaining any of the Released Defendants’ Claims against any of the Released Plaintiff

   Parties.

                              THE SETTLEMENT CONSIDERATION

              3.   (a)    Defendants shall pay or cause to be paid the Settlement Amount into the

   Escrow Account within ten (10) business days of the entry of the Preliminary Approval Order in

   the Action. All Parties understand and agree that any obligation of the Trustee Defendants

   hereunder will be satisfied by insurers or other Defendants and that no portion of the Settlement

   Amount is to be paid personally by the Trustee Defendants.

                   (b)    No Defendant shall have any obligation to make any monetary

   contribution in Settlement of this Action, other than the payment of the Settlement Amount as

   described in paragraph 3(a). In this Action, the Gross Settlement Fund shall be used only for the

                                                    11
Case 1:09-cv-00386-JLK-KMT Document 125-1 Filed 08/12/11 USDC Colorado Page 12 of
                                       39




   following purposes: (i) to compensate the Class pursuant to the Plan of Allocation approved by

   the District Court; (ii) to pay all reasonable and necessary costs of Notice to the Class and of

   administration of the Settlement, as approved and ordered by the District Court, as well as any

   and all taxes due to state or governmental authorities as a result of the establishment or

   distribution of the Gross Settlement Fund; (iii) to reimburse Lead Counsel for reasonable costs

   and expenses paid in connection with this litigation, as approved by the District Court; and (iv)

   to pay reasonable and necessary attorneys’ fees, as approved by the District Court and subject to

   paragraphs 17 and 23(e).

                  (c)     No money may be paid out of the Gross Settlement Fund before the

   Effective Date of the Settlement, except as follows: (i) reasonable costs of Notice and

   administration may be paid out of the Gross Settlement Fund, in accordance with orders of the

   District Court, up to the limit set forth in paragraph 12; (ii) Taxes may be paid out of the Gross

   Settlement Fund, as they come due and owing; and (iii) Lead Counsel’s attorneys’ fees and

   expense reimbursement, as more fully set forth in paragraph 17 below, may be paid out of the

   Gross Settlement Fund after the hearing on final approval, and as awarded by the District Court,

   provided, however, that in the event that the Effective Date does not occur, Lead Counsel shall

   repay to the Gross Settlement Fund the amount of the Repayment Obligation, and the Gross

   Settlement Fund, less only disbursements actually made or incurred for the costs of Notice,

   administration, and Taxes, shall be paid to Defendants.


                          TAX TREATMENT AND ADMINISTRATION

          4.      The Escrow Agent shall maintain the Settlement Amount in one or more Escrow

   Accounts. The Escrow Agent shall invest the Settlement Amount in instruments backed by the

   full faith and credit of the United States Government or fully insured by the United States


                                                    12
Case 1:09-cv-00386-JLK-KMT Document 125-1 Filed 08/12/11 USDC Colorado Page 13 of
                                       39




   Government or an agency thereof, or money market funds invested solely in such investments,

   and shall reinvest any income from these instruments and the proceeds of these instruments as

   they mature in similar instruments at their current market value.

          5.      All funds held in the Escrow Account shall be deemed and considered to be in

   custodia legis of the District Court, and shall remain subject to the exclusive jurisdiction of the

   District Court, until such time as such funds shall be distributed pursuant to this Stipulation

   and/or further order(s) of the District Court.

          6.      Other than the payment of the Settlement Amount as set forth in paragraph 3(a),

   neither the Released Defendant Parties nor Defendants’ Counsel shall have any liability or

   responsibility for the Escrow Account or the payment of any Taxes.

          7.      After the Settlement Amount has been paid into the Escrow Account in

   accordance with paragraph 3 above, the Parties agree to treat the Escrow Account as a “qualified

   settlement fund” within the meaning of Treas. Reg. § 1.468B-1. In addition, Lead Counsel shall

   timely make, or cause to be made, such elections as necessary or advisable to carry out the

   provisions of this paragraph, including the “relation-back election” (as defined in Treas. Reg. §

   1.468B-1) back to the earliest permitted date. Such election shall be made in compliance with

   the procedures and requirements contained in such regulations. It shall be the responsibility of

   Lead Counsel to timely and properly prepare and deliver, or cause to be prepared and delivered,

   the necessary documentation for signature by all necessary parties, and thereafter take all such

   actions as may be necessary or appropriate to cause the appropriate filing to occur.

          8.      For the purposes of Section 468B of the Internal Revenue Code of 1986, as

   amended, and Treas. Reg. § 1.468B promulgated thereunder, the “administrator” shall be Lead

   Counsel or its successor, which shall timely and properly file, or cause to be filed, all



                                                    13
Case 1:09-cv-00386-JLK-KMT Document 125-1 Filed 08/12/11 USDC Colorado Page 14 of
                                       39




   informational and other tax returns necessary or advisable with respect to the interest earned on

   the funds deposited in the Escrow Account (including without limitation the returns described in

   Treas. Reg. § 1.468B-2(k)). Such returns (as well as the election described above) shall be

   consistent with this subparagraph and in all events shall reflect that all taxes (including any

   estimated taxes, interest, or penalties) on the income earned on the funds deposited in the Escrow

   Account shall be paid out of such funds as provided in paragraph 9 hereof.

          9.      Taxes on the income of the Settlement Amount and expenses and costs incurred

   in connection with the taxation of the Settlement Amount (including, without limitation, interest,

   penalties, and the expenses of tax attorneys and accountants) (collectively “Taxes”) shall be paid

   solely out of the Escrow Account. In all events, the Released Defendant Parties and Defendants’

   Counsel shall have no liability or responsibility whatsoever for the Taxes or the filing of any tax

   returns or other documents with the Internal Revenue Service or any other state or local taxing

   authority. In the event any Taxes are owed by any of the Released Defendant Parties on any

   interest earned on the funds on deposit in the Escrow Account, such amounts shall also be paid

   out of the Escrow Account. Any Taxes or tax expenses owed on any interest earned on the

   Settlement Amount prior to its transfer to the Escrow Account shall be the sole responsibility of

   Defendants.

          10.     Taxes shall be treated as, and considered to be, a cost of administration of the

   Settlement and shall be timely paid, or caused to be paid, by Lead Counsel out of the Escrow

   Account without prior order from the District Court, and Lead Counsel shall be obligated

   (notwithstanding anything herein to the contrary) to withhold from distribution to Authorized

   Claimants any funds necessary to pay such amounts (as well as any amounts that may be

   required to be withheld under Treas. Reg. § 1.468B-2(1)(2)). The Parties agree to cooperate with



                                                    14
Case 1:09-cv-00386-JLK-KMT Document 125-1 Filed 08/12/11 USDC Colorado Page 15 of
                                       39




   the Escrow Agent, each other, and their tax attorneys and accountants to the extent reasonably

   necessary to carry out the provisions of this paragraph.


                  PROVISION OF NOTICE; ADMINISTRATION EXPENSES

          11.     Except as otherwise provided herein, all notice and administration costs, including

   without limitation the fees and expenses of the Claims Administrator in the administration and

   distribution of the Gross Settlement Fund, shall be paid out of the Gross Settlement Fund.

          12.     (a)     At no cost to the Gross Settlement Fund, the Oppenheimer Defendants

   will provide to the Claims Administrator the names, addresses, and Class Period account

   transaction data, in electronic searchable form, for individual Class Members to the extent that

   the Oppenheimer Defendants possess the information. To the extent that certain Class Members

   held Champion Income Fund shares at broker-dealers or other intermediaries and, as a result, the

   Oppenheimer Defendants do not possess the names, addresses and Class Period account

   transaction data for these Class Members, the Oppenheimer Defendants will provide to the

   Claims Administrator the names and addresses of such broker-dealers or other intermediaries

   along with their aggregate account data at no cost to the Gross Settlement Fund. After the

   Claims Administrator has notified the broker-dealers or other intermediaries of the Settlement,

   the Oppenheimer Defendants shall also contact such broker-dealers and intermediaries to advise

   them of the Settlement and of their obligations under the Court’s Preliminary Approval Order,

   and to request that they provide names, addresses and transactional data to the Claims

   Administrator. The Defendants are not obligated to bear any costs associated with obtaining

   Class Members’ names, addresses, or Class Period account transactions data from broker-dealers

   or other intermediaries.




                                                   15
Case 1:09-cv-00386-JLK-KMT Document 125-1 Filed 08/12/11 USDC Colorado Page 16 of
                                       39




                  (b)     Within ten (10) business days after execution of the Stipulation and

   Agreement of Settlement dated May 19, 2011, Lead Plaintiffs will apply for entry of the

   Preliminary Approval Order which, among other things, approves, as reasonable, distribution

   from the Gross Settlement Fund prior to the Effective Date of up to $350,000 to pay the actual,

   reasonable costs of providing notice in the Action and administering the Gross Settlement Fund,

   and approves distribution from the Gross Settlement Fund for future payment of all Taxes

   pursuant to paragraph 9 that become due and owing. This advancement of notice and

   administration costs, to the extent already expended or incurred for that purpose, shall not be

   subject to repayment if the Settlement does not become effective. Upon the occurrence of the

   Effective Date, Lead Plaintiffs may file additional motions for approval of additional amounts

   from the Gross Settlement Fund for payment of reasonable costs of providing Notice and

   administering the Gross Settlement Fund.

                  (c)     Except as provided in paragraph 12(a) above, Defendants will not have

   any responsibility for, involvement in, or liability for the payment of any monies from the Gross

   Settlement Fund in connection with the administration of the Settlement.

                  (d)     After the Effective Date, Lead Counsel will apply to the District Court,

   after giving notice to Defendants’ Counsel, for the Distribution Order.


       ALLOCATION OF SETTLEMENT AMOUNT TO AUTHORIZED CLAIMANTS

          13.     The allocation of the Net Settlement Fund among the Class Members in this

   Action shall be subject to a Plan of Allocation to be proposed by Lead Counsel and approved by

   the District Court. The Claims Administrator shall determine each Authorized Claimant’s pro

   rata share of the portion of the cash in the Net Settlement Fund based upon each Authorized

   Claimant’s Recognized Claim.


                                                   16
Case 1:09-cv-00386-JLK-KMT Document 125-1 Filed 08/12/11 USDC Colorado Page 17 of
                                       39




          14.     The Plan of Allocation proposed in the Notice is not a necessary term of the

   Stipulation or this Settlement and is to be considered by the District Court separately from its

   determination of the fairness, reasonableness, and adequacy of the Settlement as set forth in the

   Stipulation. Approval of the Plan of Allocation proposed in the Notice is not a condition of this

   Stipulation or this Settlement. Any Plan of Allocation is a matter separate and apart from the

   Stipulation, and any order or proceeding relating to the Plan of Allocation shall not affect the

   validity or finality of the Settlement or the Final Judgment or any other orders entered pursuant

   to the Stipulation.

          15.     Defendants will not have any responsibility for, involvement in, or liability for

   allocation of the Net Settlement Fund or with the Plan of Allocation, and will take no position

   with respect to Lead Counsel’s proposed Plan of Allocation.

          16.     Each Authorized Claimant shall be allocated a pro rata share of the cash in the

   Net Settlement Fund based on the Authorized Claimant’s Recognized Claim compared to the

   total Recognized Claims of all Authorized Claimants. This is not a claims-made settlement, i.e.,

   the Settlement Amount will not increase or decrease by reason of the aggregate amount or value

   of claims filed by Class Members. If all the conditions of the Stipulation are satisfied and the

   Effective Date occurs, none of the Settlement Fund will be returned to Defendants or their

   respective insurers. Defendants will have no involvement in reviewing or challenging Class

   Members’ claims.


                               ATTORNEYS’ FEES AND EXPENSES

          17.     (a)     Lead Counsel, on behalf of all plaintiffs’ counsel in the Action, will apply

   to the District Court for an award from the Gross Settlement Fund of (i) attorneys’ fees not to

   exceed twenty-five percent (25%) of the Settlement Amount, plus any interest on such amount at


                                                    17
Case 1:09-cv-00386-JLK-KMT Document 125-1 Filed 08/12/11 USDC Colorado Page 18 of
                                       39




   the same rate and for the same periods as earned by the Settlement Amount; and (ii)

   reimbursement of out-of-pocket expenses incurred in prosecuting the Action, plus any interest on

   such amount at the same rate and for the same periods as earned by the Settlement Amount (“Fee

   and Expense Application”). Defendants shall take no position with respect to the Fee and

   Expense Application. Any attorneys’ fees and expenses awarded by the District Court shall be

   paid from the Gross Settlement Fund to Lead Counsel within ten (10) calendar days of entry of

   Final Judgment by the District Court and the order awarding such attorneys’ fees and expenses in

   the Action, notwithstanding the existence of any timely filed objections thereto, or potential for

   appeal therefrom, or collateral attack on the Settlement or any part thereof. The Fee and Expense

   Application shall be considered separately from the Settlement and any decision by the District

   Court concerning attorneys’ fees, allocation, or expenses shall not affect the validity or finality of

   the Settlement.

                  (b)     Lead Counsel and each plaintiffs’ counsel is obligated to refund to the

   Gross Settlement Fund the amount received by each in attorneys’ fees and expenses plus accrued

   interest at the rate earned by the Settlement Amount, if and when, as a result of any appeal or

   further proceeding on remand, or successful collateral attack, the attorneys’ fee or expense award

   is reduced or reversed, if the attorneys’ fees or expense award does not become final, if the

   Settlement itself is voided by any party as provided herein, or if the Settlement is later reversed

   or modified by any court.


                           ADMINISTRATION OF THE SETTLEMENT

          18.     The Claims Administrator shall administer the Settlement under Lead Counsel’s

   supervision and subject to the exclusive jurisdiction of the District Court. Defendants shall have

   no role in or responsibility (including without limitation monetary responsibility) for


                                                    18
Case 1:09-cv-00386-JLK-KMT Document 125-1 Filed 08/12/11 USDC Colorado Page 19 of
                                       39




   administering the Settlement; no role in or responsibility for reviewing or challenging the claims

   submitted; and no liability whatsoever to any person or entity including, but not limited to, Lead

   Plaintiffs, other Class Members, any other plaintiffs, any Class Member’s counsel, or Lead

   Counsel in connection with the administration of the Settlement. Without limiting the foregoing,

   the Defendants shall not be liable to any person with regard to any disclosure to the Claims

   Administrator of personal or potentially private account information, including without

   limitation the names, addresses, and account transaction data for individual Class Members, the

   accuracy of such information, or the identity of the Class Members.

          19.     The administration of the Settlement is defined as the allocation and distribution

   of the Net Settlement Fund and may include the investment of such funds; the determination,

   calculation, processing, or payment of claims; the review and approval or rejection of Proofs of

   Claim; processing the Plan of Allocation; and the determination, payment, or withholding of

   Taxes or any loss incurred in connection therewith; and no person or entity, including but not

   limited to, the Class Members, Lead Plaintiffs and Lead Counsel, shall have any claims against

   Defendants in connection therewith.

                  (a)     Lead Counsel shall be responsible for supervising the administration of the

   Settlement and disbursement of the Net Settlement Fund by the Claims Administrator. Lead

   Counsel shall have the right, but not the obligation, to waive what it deems to be technical

   defects in any Proof of Claim, Record of Fund Transactions or dispute form in the interest of

   achieving substantial justice.

                  (b)     For purposes of determining the extent, if any, to which a Class Member

   shall be entitled to be treated as an Authorized Claimant, the following conditions shall apply:




                                                   19
Case 1:09-cv-00386-JLK-KMT Document 125-1 Filed 08/12/11 USDC Colorado Page 20 of
                                       39




                           (i)    For each Class Member for whom Defendants provide name,

   address and Class Period account transaction information, or for whom broker-dealers or other

   intermediaries provide name, address and Class Period account transaction information, the

   Claims Administrator shall send to the Class Member a completed Record of Fund Transactions

   listing the Champion Fund shares the Class Member acquired and sold between January 1, 2006

   and January 1, 2009, along with any dividends or distributions earned and dividends or

   distributions reinvested during this period. These Class Members will be considered Authorized

   Claimants if their claim calculates to a Recognized Claim under the Plan of Allocation approved

   by the Court, without their taking any action. Class Members who believe the Record of Fund

   Transactions completed by the Claims Administrator is incorrect or incomplete will be directed

   to return a dispute form to the Claims Administrator by the date specified in the Record of Fund

   Transactions. Within thirty (30) calendar days of receiving the dispute form, the Claims

   Administrator shall respond.

                          (ii)    Each Class Member for whom the Claims Administrator does not

   receive account transaction data shall be required to submit a Proof of Claim supported by such

   documents as are designated therein, including proof of the Class Member’s loss or such other

   documents or proof as Lead Counsel, in its discretion, may deem acceptable.

                         (iii)    All required Proofs of Claim must be submitted to the Claims

   Administrator by the date specified in the Notice unless such period is extended by order of the

   District Court. Any Class Member who is required to submit a Proof of Claim but fails to submit

   a Proof of Claim to the Claims Administrator by the specified date shall be forever barred from

   receiving any payment pursuant to this Stipulation (unless a later submitted Proof of Claim by

   such Class Member is approved by order of the District Court), but shall in all other respects be



                                                   20
Case 1:09-cv-00386-JLK-KMT Document 125-1 Filed 08/12/11 USDC Colorado Page 21 of
                                       39




   bound by all of the terms of this Stipulation and the Settlement, including the terms of the Final

   Judgment entered in the Action and the releases provided for herein, and will be barred from

   bringing any action against any of the Released Defendant Parties concerning the Released

   Claims. Provided that it is actually received no later than thirty (30) calendar days after the final

   date for submission of Proofs of Claim, a Proof of Claim shall be deemed to have been submitted

   when posted, if received with a postmark on the envelope and if mailed first-class postage

   prepaid and addressed in accordance with the instructions provided in the Proof of Claim. In all

   other cases, the Proof of Claim shall be deemed to have been submitted when actually received

   by the Claims Administrator.

                          (iv)    Each Proof of Claim and dispute form shall be submitted to and

   reviewed by the Claims Administrator, under the supervision of Lead Counsel, who shall

   determine the amount of Recognized Claims in accordance with this Stipulation and the Plan of

   Allocation and the extent, if any, to which each claim shall be allowed, subject to review by the

   District Court pursuant to subparagraph (vi) below. Except as needed to fulfill its obligations

   under paragraph 19(b)(i), the Claims Administrator shall keep confidential the Class Member

   and other shareholder information provided to it in connection with the administration of the

   Settlement.

                           (v)    The Claims Administrator may reject any and all Proofs of Claim

   or dispute forms that do not meet the filing requirements. Prior to rejection of a Proof of Claim

   or dispute form, the Claims Administrator shall communicate with the claimant in order to afford

   such claimant the opportunity to remedy any curable deficiencies in the Proof of Claim or

   dispute form submitted. The Claims Administrator, under supervision of Lead Counsel, shall

   notify, in a timely fashion and in writing, all claimants whose Proofs of Claim or dispute forms



                                                    21
Case 1:09-cv-00386-JLK-KMT Document 125-1 Filed 08/12/11 USDC Colorado Page 22 of
                                       39




   they propose to reject in whole or in part, setting forth the reasons therefor, and shall indicate in

   such notice that the claimant whose claim or dispute is to be rejected has the right to a review by

   the District Court if the claimant so desires and complies with the requirements of subparagraph

   (vi) below.

                          (vi)    If any claimant whose Proof of Claim or dispute form has been

   rejected in whole or in part desires to contest such rejection, the claimant must, within twenty

   (20) calendar days after the date of mailing of the notice required in subparagraphs (i) or (v)

   above, serve upon the Claims Administrator a notice and statement of reasons indicating the

   claimant’s grounds for contesting the rejection, along with any supporting documentation, and

   requesting a review thereof by the District Court. If a dispute concerning a Proof of Claim or

   dispute form cannot be otherwise resolved, Lead Counsel shall thereafter present the request for

   review to the District Court for a final determination.

                          (vii)   The administrative determinations of the Claims Administrator

   accepting and rejecting Proofs of Claim or dispute forms shall be presented to the District Court,

   after giving notice to Defendants’ Counsel, for approval by the District Court in the Distribution

   Order.

                  (c)     Each claimant shall be deemed to have submitted to the jurisdiction of the

   District Court with respect to the claimant’s claim, and the claim will be subject to investigation

   and discovery under the Federal Rules of Civil Procedure, provided that such investigation and

   discovery shall be limited to that claimant’s status as a Class Member and the validity and

   amount of the claimant’s claim. No discovery shall be allowed on the merits of the Action or the

   Settlement in connection with processing of claims.




                                                     22
Case 1:09-cv-00386-JLK-KMT Document 125-1 Filed 08/12/11 USDC Colorado Page 23 of
                                       39




                  (d)     Payment pursuant to this Stipulation shall be deemed final and conclusive

   against all Authorized Claimants. All Class Members whose claims are not approved by the

   District Court or who were required to submit a claim but fail to do so shall be barred from

   participating in distributions from the Net Settlement Fund, but otherwise shall be bound by all

   of the terms of this Stipulation and the Settlement, including the terms of the Final Judgment to

   be entered in the Action and the releases provided for herein, and shall be barred from bringing

   any Released Claims against any of the Released Defendant Parties.

                  (e)     All proceedings with respect to the administration, processing, and

   determination of claims described in this Stipulation, and the determination of all controversies

   relating thereto, including disputed questions of law and fact with respect to the validity of

   claims, shall be subject to the exclusive jurisdiction of the District Court.

                  (f)     The Net Settlement Fund shall be distributed to Authorized Claimants by

   the Claims Administrator only after the Effective Date and after: (i) all claims have been

   processed, and all claimants whose claims have been rejected or disallowed, in whole or in part,

   have been notified and provided the opportunity to present their objections to the Claims

   Administrator; (ii) all objections with respect to all rejected or disallowed claims have been

   resolved by the District Court, and all appeals therefrom have been resolved or the time to appeal

   has expired; (iii) all matters with respect to attorneys’ fees, costs, and disbursements have been

   resolved by the District Court, all appeals therefrom have been resolved or the time to appeal has

   expired, and (iv) all Notice and administrative expenses and Taxes have been paid.

                  (g)     No Class Member or agent thereof shall have any claim against

   Defendants, Defendants’ Counsel, Lead Counsel, Lead Plaintiffs, the Claims Administrator or

   any other entity designated by Lead Counsel based on distributions made substantially in



                                                     23
Case 1:09-cv-00386-JLK-KMT Document 125-1 Filed 08/12/11 USDC Colorado Page 24 of
                                       39




   accordance with this Stipulation and the settlement contained herein, or further order(s) of the

   District Court.


                           PRELIMINARY APPROVAL OF SETTLEMENT

          20.        Concurrently with their application for preliminary District Court approval of the

   Settlement contemplated by this Stipulation and promptly after execution of the Stipulation and

   Agreement of Settlement dated May 19, 2011, Lead Counsel and Defendants’ Counsel shall

   jointly apply to the District Court for entry of a Preliminary Approval Order, substantially in the

   form of Exhibit A attached hereto. The Preliminary Order will, inter alia, certify the class for

   settlement purposes only, preliminarily approve the Settlement, set the date for the Settlement

   Hearing and prescribe the method for giving notice of the Settlement to the Class.

          21.        The Parties will contemporaneously apply for preliminary settlement approval in

   this Action and in the Core Bond Fund Action. The Settlement of this Action is conditioned

   upon Preliminary Approval of both the settlement of this Action and the settlement of the Core

   Bond Fund Action.


                                           FINAL JUDGMENT

          22.        If the Settlement contemplated by this Stipulation is approved by the Court, Lead

   Plaintiffs and Defendants shall request that the Court enter the Final Judgment, substantially in

   the form of Exhibit B attached hereto.


            EFFECTIVE DATE OF SETTLEMENT, WAIVER OR TERMINATION

          23.        (a)    The Effective Date of Settlement shall be the date when all the following

   shall have occurred:




                                                     24
Case 1:09-cv-00386-JLK-KMT Document 125-1 Filed 08/12/11 USDC Colorado Page 25 of
                                       39




                            (i)   the District Court has entered the Preliminary Approval Order in

   the Action;

                           (ii)   the Settlement Amount has been deposited into the Escrow

   Account as described in paragraph 3;

                          (iii)   the District Court has finally certified the Class and approved the

   Settlement in the Action as fair, reasonable, and adequate;

                           (iv)   the District Court has entered the Final Judgment in the Action and

   the Final Judgment in the Action has been upheld through the resolution of all appeals and writs

   of certiorari, and through the expiration of all time to appeal and file writs of certiorari, except

   that the Effective Date shall not be delayed by any modification of or appeal from those parts of

   the Final Judgment in the Action that pertain to: (i) the Plan of Allocation; or (ii) any award or

   allocation of attorneys’ fees or expenses; and

                           (v)    the District Court has preliminarily approved the settlement

   reached between the parties in the Core Bond Fund Action, including that such settlement is fair,

   reasonable, and adequate, has entered final judgment in the Core Bond Fund Action, and the

   final judgment in the Core Bond Fund Action has been upheld through the resolution of all

   appeals and writs of certiorari, and through the expiration of all time to appeal and file writs of

   certiorari.

                  (b)     The Parties to the Stipulation shall have the right to terminate the

   Settlement and the Stipulation by providing written notice of their election to do so to all other

   Parties to the Stipulation within thirty (30) calendar days of (i) the District Court’s decision not

   to enter the Preliminary Approval Order; (ii) the District Court’s refusal to approve this

   Stipulation in whole or in any material part; (iii) the District Court’s decision not to enter the



                                                     25
Case 1:09-cv-00386-JLK-KMT Document 125-1 Filed 08/12/11 USDC Colorado Page 26 of
                                       39




   Final Judgment in whole or in any material respect; (iv) the date upon which the Final Judgment

   is modified or reversed in any material respect by the United States Court of Appeals or the

   United States Supreme Court; or (v) the failure of any or all of the events described in paragraph

   23(a)(v).

                  (c)     Pursuant to the procedure set forth in the Notice, potential Class Members

   have the right and ability to exclude themselves from the Class as set forth in the Preliminary

   Order. Lead Counsel, in conjunction with the Claims Administrator, shall cause copies of

   requests for exclusion from the Class to be provided to Defendants’ Counsel as they are received.

   No later than ten (10) calendar days after the final date for mailing requests for exclusion, Lead

   Counsel shall provide Defendants’ Counsel with a complete and final list of all known Class

   Members who have excluded themselves from the Settlement and with all other known

   information sufficient for Defendants to determine the number of persons who have requested

   exclusion and the value of any excluded claims.

                  (d)     Simultaneously herewith, Lead Counsel and Defendants’ Counsel are

   executing a confidential letter agreement (the “Letter Agreement”) that sets forth the conditions

   and timetable under which Oppenheimer may terminate the Settlement in the event that Class

   Members who suffered a given amount of alleged losses during the Class Period timely and

   validly request exclusion from the Class. Unless otherwise directed by the Court, or in the event

   of a dispute relating to the Letter Agreement, the Letter Agreement will not be filed with the

   Court. In the event that Oppenheimer terminates the Settlement pursuant to the Letter

   Agreement, this Stipulation shall become null and void and of no further force and effect, except

   that the provisions of paragraphs 23(e) and 24 shall apply. Notwithstanding the foregoing, this

   Stipulation shall not become null and void as a result of the election by Oppenheimer to



                                                   26
Case 1:09-cv-00386-JLK-KMT Document 125-1 Filed 08/12/11 USDC Colorado Page 27 of
                                       39




   terminate the Settlement pursuant to the Letter Agreement unless all conditions set forth in the

   Letter Agreement have been satisfied.

                  (e)     If the Effective Date does not occur, or if the Settlement is terminated or

   modified in any material respect or fails to become effective for any reason, then:

                           (i)    the class certification order shall be vacated and shall not be used

   as evidence in any further class certification proceedings;

                          (ii)    the Parties to the Stipulation shall be deemed to have reverted to

   their respective status in the Action as of the date and time immediately prior to the execution of

   this Stipulation and, except as otherwise expressly provided, the Parties shall proceed in all

   respects as if this Stipulation and any related orders had not been entered;

                          (iii)   within thirty (30) calendar days from Lead Counsel’s receipt of

   notice from Defendants’ Counsel of termination, modification in any material respect, or failure

   of the Effective Date to occur, Lead Counsel shall honor its Repayment Obligation by returning

   to the Gross Settlement Fund the total dollar amount distributed from the Gross Settlement Fund

   before the Effective Date for Lead Counsel’s attorneys’ fees and expense reimbursement, plus

   interest equal to what would have been earned had such amount remained in the Gross

   Settlement Fund; and

                          (iv)    within thirty-five (35) calendar days from Lead Counsel’s receipt

   of notice from Defendants’ Counsel of termination, modification in any material respect, or

   failure of the Effective Date to occur, the Gross Settlement Fund, including amounts repaid or

   that should have been repaid pursuant to the Repayment Obligation, shall be returned to

   Defendants, less only any Notice and administration costs actually incurred and paid or owing

   out of the Settlement Fund pursuant to an Order of the District Court obtained in accordance with



                                                    27
Case 1:09-cv-00386-JLK-KMT Document 125-1 Filed 08/12/11 USDC Colorado Page 28 of
                                       39




   paragraphs 12 and 20 herein, and any Taxes paid or owing in accordance with paragraph 9

   herein.


                   NO ADMISSION OF WRONGDOING OR LACK OF MERIT

             24.   (a)    Defendants deny and continue to deny that they have committed any act or

   omission giving rise to any liability in this Action, and state that they are entering into the

   Settlement to eliminate the burden, expense, uncertainty and risk of further litigation. This

   Settlement is therefore without admission of fault or liability on the part of any Defendant.

                   (b)    Lead Plaintiffs believe that the claims asserted in the Action have merit

   and that the evidence developed to date supports the claims asserted, and state that they are

   entering into the Settlement to eliminate the burden, expense, uncertainty, and risk of further

   litigation. This Settlement is therefore without admission of any lack of merit of the Action or

   the validity of any defense on the part of Lead Plaintiffs.

                   (c)    The terms of this Stipulation (whether the Stipulation becomes final or

   not), the negotiations leading up to this Stipulation, the fact of the Settlement, and the

   proceedings taken pursuant to the Settlement, shall not: (1) be construed as an admission of

   liability or an admission of any claim or defense on the part of any party, in any respect; (2) form

   the basis for any claim of estoppel by any third party against any of the Released Defendant

   Parties; or (3) be admissible in any action, suit, proceeding, or investigation as evidence, or as an

   admission, of any wrongdoing or liability whatsoever by any of the Released Defendant Parties

   or as evidence of the truth of any of the claims or allegations contained in any complaint filed in

   the Action. Neither this Stipulation, nor any of its terms and provisions, nor any of the

   negotiations or proceedings connected with it, nor any action taken to carry out this Stipulation

   by any of the Parties shall be referred to, offered into evidence, or received in evidence in any


                                                     28
Case 1:09-cv-00386-JLK-KMT Document 125-1 Filed 08/12/11 USDC Colorado Page 29 of
                                       39




   pending or future civil, criminal or administrative action or proceeding, except in a proceeding to

   enforce this Stipulation, to enforce any insurance rights, to defend against the assertion of

   Released Claims (including to support a defense or counterclaim based on principles of res

   judicata, collateral estoppel, release, good faith settlement, judgment bar or reduction), or by

   Lead Counsel to demonstrate its adequacy to serve as class counsel pursuant to Federal Rule of

   Civil Procedure 23(g) (or its state law analogs), or as otherwise required by law.


                                      MISCELLANEOUS PROVISIONS

           25.     (a)         All of the exhibits attached hereto are hereby incorporated by reference as

   though fully set forth herein.

                   (b)         The Parties to the Stipulation intend and agree that the Settlement is a final

   and complete resolution of all disputes asserted or which could be asserted by Lead Plaintiffs and

   Class Members who have not timely excluded themselves from the Class against the Released

   Defendant Parties with respect to the Released Claims, and that all Class Members who have not

   timely excluded themselves from the Class shall look solely to the Net Settlement Fund for

   settlement and satisfaction of all such claims against Defendants. Nothing herein shall be

   deemed to release or otherwise bar or impair the Released Defendant Parties’ claims against any

   or all of their insurers.

                   (c)         The Final Judgment shall include a bar order that, upon the Effective Date

   would, to the maximum extent allowed by law, bar claims for contribution, indemnification, or

   the like, however styled, against the Released Defendant Parties by any person or entity, whether

   arising under state, federal, or common law, based upon, arising out of, relating to, or in

   connection with the Released Claims. The Final Judgment shall also include a judgment

   reduction provision whereby, in the event any Class Member seeks to recover damages or any


                                                         29
Case 1:09-cv-00386-JLK-KMT Document 125-1 Filed 08/12/11 USDC Colorado Page 30 of
                                       39




   other form of monetary relief (“Damages”) from any person or entity based upon claims that

   arise out of, or relate in any way to, the Released Claims, the Class Member shall give such

   person or entity the benefit of judgment reduction or offset equal to the greater of: (1) the

   amount of recovery obtained by the Class Member in connection with the Settlement; or (2) the

   amount of any of the Released Defendant Parties’ equitable share of the Damages. The

   judgment reduction provision shall provide further that, in the event that any Class Member

   obtains a judgment against any person or entity based upon claims that arise out of, or relate in

   any way to, the Released Claims, the Class Member agrees to reduce such judgment, up to the

   full extent thereof, so as to extinguish any claim such person or entity has successfully litigated

   against any Released Defendant Party for contribution, indemnification or the like, however

   styled.

                  (d)     Lead Plaintiffs and Defendants agree not to assert in this Action that the

   litigation was brought or defended in bad faith or without a reasonable basis, and agree not to

   assert any claim of any violation of Rule 11 of the Federal Rules of Civil Procedure relating to

   the prosecution or defense of the Action. The Parties to the Stipulation agree that the amount

   paid and the other terms of the Settlement were negotiated at arms’ length in good faith by the

   Parties to the Stipulation with the assistance of experienced and independent mediators, and

   reflect a Settlement that was reached voluntarily after consultation with experienced legal

   counsel.

                  (e)     Unless otherwise specified in the Stipulation, and subject to the District

   Court’s continuing jurisdiction relating to the Settlement of the Action, the parties agree to

   mediate before Judge Phillips any dispute that arises between the Parties relating to the terms of

   the Settlement or documentation thereof.



                                                    30
Case 1:09-cv-00386-JLK-KMT Document 125-1 Filed 08/12/11 USDC Colorado Page 31 of
                                       39




                     (f)     Until a motion for a Preliminary Approval Order is filed with the District

   Court, the Parties shall maintain this Stipulation and the Settlement in confidence, except for the

   disclosure to defendants’ insurers and auditors, allocation counsel and consultants assisting with

   the allocation, the District Court, Judge Phillips, or as required by law or otherwise consented to

   by the Parties.

                     (g)     This Stipulation may not be modified or amended, nor may any of its

   provisions be waived, except by a writing signed by all Parties to the Stipulation or their

   successors-in-interest.

                     (h)     The headings herein are used for the purpose of convenience only and are

   not meant to have legal effect.

                     (i)     The administration and consummation of the Settlement as embodied in

   this Stipulation shall be under the authority of the District Court and the District Court shall

   retain exclusive, continuing jurisdiction for the purpose of enforcing the terms of the Stipulation.

                     (j)     The Parties to the Stipulation hereby irrevocably submit to the continuing

   and exclusive jurisdiction of the District Court for any suit, action, proceeding, or dispute arising

   out of or relating to this Settlement as embodied in the Stipulation or its applicability (except as

   provided in paragraph 25(e)), and agree that they will not oppose the designation of such suit,

   action, proceeding, or dispute as a related case to this Action.

                     (k)     The waiver by one Party to the Stipulation of any term or condition of this

   Stipulation shall not be deemed a waiver of any other Party to the Stipulation. Nor shall the

   waiver by one Party to the Stipulation of any term or condition of the Stipulation be deemed a

   waiver of a prior or subsequent term or condition of the Stipulation.




                                                      31
Case 1:09-cv-00386-JLK-KMT Document 125-1 Filed 08/12/11 USDC Colorado Page 32 of
                                       39




                  (l)     This Stipulation and its exhibits, together with the Letter Agreement,

   constitute the entire agreement between the Lead Plaintiffs (individually and on behalf of the

   Class) and Defendants concerning the Settlement of the Action, and no representations,

   warranties, payments, or inducements have been made by any Defendant to Lead Plaintiffs, or by

   Lead Plaintiffs to any Defendant concerning the subject matter hereof, other than those contained

   and memorialized in the Stipulation, its exhibits, and the Letter Agreement.

                  (m)     The Stipulation may be executed in one or more counterparts. All

   executed counterparts and each of them shall be deemed to be one and the same instrument,

   provided that counsel for the Parties to the Stipulation shall exchange among themselves original

   signed counterparts. Electronically transmitted signatures are valid signatures as of the date

   thereof.

                  (n)     The Stipulation shall be binding upon, and inure to the benefit of, the

   successors and assigns of the Parties to the Stipulation.

                  (o)     All agreements made and orders entered during the course of this Action

   relating to the confidentiality of documents and information shall survive this Stipulation in

   accordance with their terms.

                  (p)     The construction, interpretation, operation, effect, and validity of the

   Stipulation, and all documents necessary to effectuate it, shall be governed by the internal laws

   of the State of Colorado without regard to conflicts of laws, except to the extent that federal law

   requires that federal law govern. Lead Plaintiffs (on behalf of himself and the Class) and

   Defendants understand and agree that any disputes arising out of the Stipulation shall be

   governed and construed by and in accordance with the laws of the State of Colorado, without

   reference to choice of law principles.



                                                    32
Case 1:09-cv-00386-JLK-KMT Document 125-1 Filed 08/12/11 USDC Colorado Page 33 of
                                       39




                  (q)     The Stipulation shall not be construed more strictly against one Party to

   the Stipulation than another merely by virtue of the fact that it, or any part of it, may have been

   prepared by counsel for one of the Parties, it being recognized that the Stipulation is the result of

   arms’ length negotiations between the Parties to the Stipulation, and all Parties to the Stipulation

   have contributed substantially and materially to the preparation of the Stipulation.

                  (r)     Any and all counsel and Parties to the Stipulation who execute the

   Stipulation and any of the exhibits hereto, or any related Settlement documents, represent that

   they have the full authority to do so, and that they have the authority to take appropriate action

   required or permitted to be taken pursuant to the Stipulation to effectuate its terms.

                  (s)     Lead Counsel and Defendants’ Counsel agree to recommend approval of

   the Stipulation by the District Court and to undertake their best efforts and cooperate fully with

   one another in seeking District Court approval of the Preliminary Approval Order, the

   Stipulation, and the Settlement, and to promptly agree upon and execute all such other

   documentation as may be reasonably required to obtain final approval by the District Court of

   the Settlement and the entry of the Final Judgment. Lead Counsel and Defendants’ Counsel

   agree to take all reasonable actions necessary to effectuate the performance of, and uphold the

   validity and enforceability of, this Stipulation.

                  (t)     The Parties agree to cooperate to take such steps as may be reasonably

   appropriate to resolve the derivative actions, Turpin v. Murphy et al., Civil Action No. 1:09-cv-

   02627-JLK and Bohus v. Manioudakis et al., Civil Action No. 1:10-cv-01473-JLK, relating to

   Oppenheimer.

                  (u)     The Parties agree that Oppenheimer will make the first disclosure of this

   proposed settlement and will provide reasonable advance notice to the other Parties of any such



                                                       33
Case 1:09-cv-00386-JLK-KMT Document 125-1 Filed 08/12/11 USDC Colorado Page 34 of
                                       39
Case 1:09-cv-00386-JLK-KMT Document 125-1 Filed 08/12/11 USDC Colorado Page 35 of
                                       39
Case 1:09-cv-00386-JLK-KMT Document 125-1 Filed 08/12/11 USDC Colorado Page 36 of
                                       39
Case 1:09-cv-00386-JLK-KMT Document 125-1 Filed 08/12/11 USDC Colorado Page 37 of
                                       39
Case 1:09-cv-00386-JLK-KMT Document 125-1 Filed 08/12/11 USDC Colorado Page 38 of
                                       39
Case 1:09-cv-00386-JLK-KMT Document 125-1 Filed 08/12/11 USDC Colorado Page 39 of
                                       39
